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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                      CASE NO. 9:15-cv-81784-DMM (Middlebrooks/Brannon)

  MARKIS PIERRE,

         Plaintiff,

  v.

  PASHA, LLC d/b/a GANEE STONE,
  a Florida limited liability company,

         Defendant.
                                            /

                JOINT MOTION TO REVIEW AND APPROVE SETTLEMENT
                       AND DISMISS ACTION WITH PREJUDICE

         Plaintiff and Defendant, by and through their respective undersigned counsel,

  hereby jointly move the Court to review and approve their settlement and dismiss this

  action with prejudice, as follows:

         1.      Plaintiff’s complaint alleges that Defendant violated (a) the Fair Labor

  Standards Act of 1938, as amended, 29 U.S.C. § 201, et seq. (“FLSA”), by failing to pay

  him alleged unpaid overtime compensation, and (b) section 440.205, Fla. Stat., by

  wrongfully terminating his employment in retaliation for Plaintiff’s attempt to claim

  compensation under Florida’s Workers’ Compensation Law.

         2.      Defendant vigorously denies any wrongdoing, and further denies that Plaintiff

  is entitled to any relief whatsoever. The parties agree that there is a bona fide, good faith

  dispute as to both liability and damages regarding Plaintiff’s claims.

         2.      To avoid the costs and uncertainty of further litigation, the parties have


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  negotiated a settlement of this matter. Pursuant to Lynn’s Food Stores, Inc. v. United

  States, 679 F.2d 1350 (11th Cir. 1982), claims for back wages arising under the FLSA may

  be settled or compromised with the approval of the district court (or under the supervision

  of the U.S. Department of Labor).

         3.     However, in reaching this settlement, the Plaintiff agreed that he shall take

  nothing as a result of his FLSA claim and desires that this claim be voluntarily dismissed

  with prejudice.   The settlement amount therefore is specifically designated in the

  agreement as non-wage compensatory damages, costs and attorneys’ fees, allegedly

  suffered by virtue of the alleged wrongful termination, as that was the basis on which the

  parties agreed to settle at the mediation. To that extent, Lynn’s Food does not necessarily

  apply to this settlement. Notwithstanding, and in an abundance of caution, the parties

  certainly wish to abide by the Court’s Order and Lynn’s Food and therefore submit the

  agreement for the Court’s approval in any event.

         4.     All parties are represented by counsel in this action, and all parties and their

  respective counsel agree and stipulate that the settlement represents a fair, reasonable,

  good faith and arms-length compromise of Plaintiff’s claims.

         5.     Attached hereto as Exhibit “A” is a copy of the parties’ Settlement Agreement.

         6.     The parties request that the Court review and approve their settlement and

  dismiss this action with prejudice. The parties further request that the Court reserve

  jurisdiction to enforce the terms of the settlement, should such enforcement be necessary.

         WHEREFORE, Plaintiff and Defendant jointly request that the Court enter an order

  (a) approving the parties’ settlement; (b) dismissing this action with prejudice; and (c)


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  reserving jurisdiction to enforce the terms of the settlement, should such enforcement be

  necessary. A proposed order is provided herewith.

        Respectfully submitted this 28th day of April , 2016.

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                                     CERTIFICATE OF SERVICE

         I hereby certify that on April 28, 2016, I electronically filed the foregoing document with the
  Clerk of the Court using CM/ECF. I also certify that the foregoing document is being served this
  day on all counsel of record identified on the Service List below via transmission of Notices of
  Electronic Filing generated by CM/ECF.

                                                        s/ Daniel R. Levine
                                                        DANIEL R. LEVINE, ESQ.


                                            SERVICE LIST

                          Markis Pierre v. Pasha, LLC d/b/a Ganee Stone
                      Case No. 9:15-cv-81784-DMM (Middlebrooks/Brannon)
                      United States District Court, Southern District of Florida

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